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 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         No. 2:11-cr-449-KJM
12                      Plaintiff,
13           v.                                        ORDER
14   BRIAN JUSTIN PICKARD, et al.,
15                      Defendants.
16

17                  On December 3, 2014, defendant Brian Pickard applied to file a supplemental

18   declaration of Jennie Stormes. (ECF No. 368.) He argues the supplemental declaration is

19   necessary because “circumstances relevant to this case significantly changed for Ms. Stormes and

20   her son, Jackson” after the original declaration’s filing. (Id. at 1.) The government objects on

21   relevancy grounds and moves to strike. (ECF No. 372.) After considering the application and the

22   supplemental declaration, the court GRANTS defendant’s application in part and DENIES it in

23   part.

24                  The court GRANTS defendant’s application to the extent the supplemental

25   declaration relays information about “the diagnosis doctors gave [Ms. Stormes’] son and her

26   observations of her son’s symptoms and reactions to different treatments . . . ,” consistent with

27   this court’s prior order. (Order at 3, ECF No. 342.)

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 1                  Accordingly, the court strikes the following portions of the supplemental
 2   declaration:
 3                  a. Paragraph 3, in its entirety (ECF No. 368-1 at 1–2); and
 4                  b. Paragraph 4, except for the following sentence: “[D]ue to the ready availability
 5                     of various strains of cannabis that have been cultivated with different levels of
 6                     the main compounds, I have been able to adjust Jackson’s cannabis intake to
 7                     better suit his specific need.”
 8                  IT IS SO ORDERED.
 9   DATED: January 20, 2015.
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                                                     UNITED STATES DISTRICT JUDGE
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